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A 0 245B (Rev 06/05) Sheet 1 -Judgment in a Criminal Case


                           UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DMSION



UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                                                             CASE NUMBER: 8:05-cr-530-T-30EAJ
                                                             USM NUMBER: 76302-004
VS.




IRISLEIDY MORALES                                                    Defendant's Attorney: Daniel Castillo, cja

THE DEFENDANT:

X pleaded guilty to count(s) ONE of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                    NATURE OF OFFENSE                          OFFENSE ENDED

                                   Conspiracy to Possess with the Intent to   December 15, 2005                   One
                                   Distribute 100 or more Marijuana Plants


        The defendant 1s sentenced as provided h pages 2 through 6 of this judgment. The sentence 1s imposed pursuant to the
Sentencing Reform Act of 1984.

  The defendant has been found not guilty on count(s)
- Count(?.) (is)(are) dismissed on the motion of the United States
IT IS FURTHER ORDERED that the defendant must notify the United States Anorney for this disuict withm 30 days of any change
of name, residence, or m d h g address until all fines, restimtlon, costs, and spec~alassessments imposed by th~s~udgmentare fully
paid.
If ordered to pay restitution, the defendant must notify the court and Umted States Attorney of any material change m economic
circumstances.


                                                                              Date of Impos~tionof Sen~ence December 13. 2006




                                                                              DATE: December             ,2006
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A 0 245B (licv 06!05) Sheet 3 - Imprisonnlent (Judgment in a Criminal Case)
Defendant:            IRISLEIDY hIOIL4LES                                                                  Judgment - Pagc 2 of 6
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        After consitlering the advisoq- sentencing guitlelines autl all of the fhctors identified in Title 18 U.S.C. $ 8
3553(a)(l)-(7),the court fintls that the sentence imposed is sufficient, 1)ut not greater than necessary, to co~nplywith
the statutory purposes of sentencing.


        The defendant is hereby co~imittedto the c~istodyof tlie United Statcs Bureau of Prisons to be i~iiprisonecl
for a total term of TWENTY-FOUR (24) RIONTEIS us to Count One of tlie Intlictine~it.




X The court makes the following reco~mnendationsto the Bureau of Prisons: The defendant shall be placed in 311i~lstitution
-
who offers the MINT program. Secondly, if FCI Miami (Florida) offers the MINT program, the defenclant s11all bc placccl in
that institution.


 The defendant is rs~~iandedto the custody of'the United States hlarsllal.
- The defendant shall surrender to the United States Marshal for tliis district.
           - at - a.ni.1p.m. on -.
           - as notified hy the United States Marshal.


,Y The defendant shall surrsncfe~for service of sentence at the institution designated by the Bureau of Priso~is.

           - httfors 1. 11.111. 011 -.
           X as notified by the Ui~itedStates Marshal.
           - as notified by the Probation or Pretrial Services Office.




                                                                     RETURN

           1 have executed this judgment as follows:




           Defendant delivered on                                                   to

-     at                                                                           , with a certified copy of this judgmenr.



                                                                                          United Stares h4arshal

                                                                         By:
                                                                                          Dcputy United States Marshal
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A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

De fcndnnr :        IRISLEIDY NORALES
Case No. :          8:05-cr-530-T-30EAJ
                                                            SUPERVISED RELEASE

     Upon release from iniprisonme~lt,the defendant shall be on supervised release for a term of THREE ( 3 )
YEARS as to Count Oue of the Indictnlent.
        The defendant must report to the probation office in the district to which the defendant is relexed within 72 hours 01' release
R.om h e c ~ s t o d yof the Buscau o f Prisons.

Thc defendant shall not co~nnlitanother federal, state, or local crime. The defcndant shall not unlawfully possess :I controlled substance.
The defendant shall refrain fro111 any u~llawt'uluse of a controlled substance. Thc dcfcnilant shall submir to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the courl.


          The defendant shall not possess a firearm, destructive device, or any otller clnngerous weapon.

          T h e defendant shall cooperate in the collection of DNA as directed by the probntion officer.


           If this judgment imposes a fine or restitution it is a condition of supervised release that the defcndanl pay ~ I accordance
                                                                                                                             I          \lrith
           the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.
                                             STANDARD COXDITIONS OF SUI'EIIVISION
           the defendant shall not leave the judicial district without thc pernlission of the court or psobation of'ficcr;

           the defendant shall report to thu probation officer and sliall submit a truthful and c01i1plctc\vsittcn ~ C P O I within
                                                                                                                             -~     thc first fivc days of cacli
           month;

           the defendant shall answcr truthfully all inquiries by the probation officer and follo\v thc instructions ofthe probation officcr:

           the derendan~shall support his or licr dcpendcnts and meet other family responsibililics;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any changc in rcsidcnce or employment;

           thc dcfendant shall refrain from excessive use of alcohol and shall not purchase, possess, usc, distribute: or administer any controlled
           subsiance or any parapIne~.naliarelatcd to any controlled substances, except as psescribcd by a physician:

           rhs defendant shall not fi-cquent places where controlled substances are illegal1y sold, used, distri butcd, or adniiriictercd;

           the defendant shall not associate with any persons cngaged in criminal activity and shall not associate with any person con~ictcdof a
           felony, unlcss granted peninission to do so by the probation officer;

           the defendant shall permil a probation officer to visit him or her at any timc at hnmc or clsc\vlic~~
                                                                                                              and shall pcrn-rit confiscation o f any
           contraband obscrved in plain view of the probation offices;

           the defcndant shall no~it'ythc probnt~onofficer within seventy-two hours ol'bcing asrcstcrl 01.qircstioncd by ;I la\\, cnloscemsnt orl'iccs;

           tlic defendant shall not cntcr into any agreement to act as an infor~iieror a spccial agent of a law cnfosccmenL agcncy \vithout the
           permission of the court; and

           as directed by the probation officer, the defendant shall notify third parties of risks that niay be occasioned by thc defcndanr's criminal rccord
           or personal history or charactcristics and shall permit the probation officur to t~nakes~tclinotifications and to confirni the defendant's
           compliance with such notification requirement.
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A 0 2453 (Rev. 06105) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:        IRISLEIDY MORALES                                                            Judgment - Page 4 of
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                                        SPECIAL CONDITIONS OF SUTPERVISION

         The dzfeuitlant shall also comply with the following ndditiornl conditions ol' supervised release

-
X        Should the defendant be deported, he/she shall not be allowed to re-enter the United States without the express permission
         of the appropriate governmental authority.

-
X        The defendant shall cooperate in the collection of DNA as direc~edby the probation officer.

-
X        T h e mantlatory drug resting provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes r:mdom
         drug testing not to exceed 104 tests per year.
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A 0 245D (Rev 06/05) Sheet 5 - Cri~ninalhlol~etaryPenalties (Judgment in a Crimirial Case)

Defendant:         IRISLEIDY MORALES                                                             Judgment - Page 5 of 6
Case No. :         8:OS-cr-530-T-30EAJ

                                           CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of paymenls on Sheet 6.
                            Asscssnlent                           Fine                           'I'ot:il Restitution

         Totals:                                                  Waived


-        The determination of restitution is deferred until           .              Jutlgl~lerlri~zn Cri111iw1Case ( A 0 245C) will
                                                                           An A~lle~~dctl
         be entered after such rleterminntion.

-        The defendant niust make restitution (including couununity restitution) to tllc following payws in (he ainount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or percentage pa ment coluinn below. I-Iowever, pursuant to 18 U.S.C.
         3664(i), all non-federal victims must be paid before the Ynited States.


Nanie of Pnwe                                  Total Loss*                 Restitution 01-tiel-etl                  Prioritv or Percentage




                            Totals:            $                           L-

-         Restitution amount ordered pursuant to plea agreement $
-        The defendant must pay interest on a fine or restitution of more than $2,500. unless the reslitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 3612(t). All ol'the payment options on Sheet
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(g).
-         The court determined that the dcfcndant does not have the ability to pay interest and it is ordcrccl that:
                   the interest requirement is waived for the - fine              restitution.
        -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amounl of losses are required under Cha ters 109A, 110, 1 lOA, and 113A of' Title 18 fos the offenscs
          on or after Sepenibcr 13, 1994, but before April 23. 1896.
com~i~ittrd
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:        IRISLEI DY MORALES                                                        Judg~ncnr- Page 6--     of 6
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                                                  SCHEDULE OF PAYMENTS



Having :messed the defendant's ability to pay, payment of the total criminal mo~letarypenalties are clue as follows:

A.         X       Lump sum payment of $ 100.00 due immediately. balance due
                            -not later than                    . or
                            -in accordance - C.             -    D. - E or - F below: or
B.       -         Paymcnt to begin irnmetliately (may be coinbined wirh -C, - D, or - F below): or
C.       -         Paynlent in equal                 (e.g . , weekly, monthly, quarlerly) installmen~sof $              over a
                   period of          (e .g., months or years), to commence                days (e.g.. 30 or 60 days) after the
                   date of this judgment: or
D.       -         Payment in equal                (e.g . . weekly, monthly. quarterly) installments of $                 over a
                   period of
                                , (e.g.. months or years) to commence                       ( e g . 30 or 60 clays) after release
                   from imprisonment to :I term of supervision: or
E.       -         Payment during the term of supervised release will conlmence within                          (e.g.. 30 or
                   60 days) after release from imprisonmeilt. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time. or
F.       -         Special instructions regarding the payment of criminal monetary penalties:



Unless h e court has expressly ordered otherwise, i T this judgment imposes imprisonment. paylncnr o f criminal monr~ary
penalties is due during imprisonment. All criminal monetary penalties. except those paynlents 1lli1dethrough the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalries imposecl.
-         Joint and Several
        Defendant and Co-Defendan1 Nnines and Case Numbers (including clcfcnclant number), Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:

X         The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily ilIl)' and all assets and
property, or portions thereof, subject to forfeiture, which are in the ossession or control ol' the defenclanr or the
                                                                                    B
clefend:~nt'snominees. The Court 111:lh-es part of this judgment [Dkt. 38 ] Forfeiture Money Judgment.

Payments shall be applied in the following order: (1) assessment. (2) restitution principal, (3) restitution interest, (4) f'inc principal,
( 5 ) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of' prosecution and court costs.
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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

      UNITED STATES OF AMERICA,

             Plaintiff,

      v.                                               Case No. 8:05-cr-530-T-30EAJ

      IRISLEIDY MORALES,

             Defendant.


                             FORFEITURE MONEY JUDGMENT

            THIS CAUSE comes before the court upon the filing of the Motion (Dkt. #369)

      of the United States of America for a personal money judgment in the amount of

      $10,000.00 in United States currency, which, upon entry, shall become a final

      order of forfeiture as to defendant lrisleidy Morales.

             The court hereby finds that $10,000.00 in United States currency is the

      amount of funds obtained by the defendant as a result of his participation in the

      conspiracy as charged in Count One of the Indictment for which defendant pled

      guilty to a lesser included marijuana quantity. Accordingly, it is hereby

             ORDERED, ADJUDGED AND DECREED that for good cause shown, said

      Motion (Dkt. #369) of the United States is hereby GRANTED.

             It is FURTHER ORDERED that pursuant to the provisions 21 U.S.C. 5 853,

      and Fed. R. Crim. P. 32.2(b)(2), defendant lrisleidy Morales is personally liable for

      a forfeiture money judgment in the amount of $10,000.00 in United States currency,

      which represents the amount of proceeds the defendant obtained as a result of his
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     participation in the conspiracy as charged in Count One of the Indictment for which

     defendant pled guilty to a lesser included marijuana quantity.

            IT IS FURTHER ORDERED that the United States may seek forfeiture of any

     of the defendant's property up to the total value of the $10,000.00 money judgment

     as substitute assets in satisfaction of the judgment, pursuant to the provisions of 21

     U.S.C. § 853(p).

            The court retains jurisdiction to enter any further orders necessary for the

     forfeiture and disposition of any property, belonging to the defendant, that the United

     States is entitled to seek as substitute assets (up to the amount of the forfeiture

     money judgment), and to entertain any third party claims that may be asserted in

     these proceedings.

            DONE and ORDERED in Tampa, Florida on October 23, 2006.



                                                                                        .-


                                               'I-XITED STATES Df STRICT J'Z'DGE

     Copies to:
     Adelaide G. Few, AUSA
     Counsel of Record
